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 8                           IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                          CASE NO. CR F 08-0297 LJO
12                         Plaintiff,                   ORDER TO DENY REQUEST FOR
                                                        TRANSCRIPTS AND TO PROCEED IN
13          vs.                                         FORMA PAUPERIS
                                                        (Docs. 55, 56.)
14   DIANA HERNANDEZ TERAN,
15                         Defendant.
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17          This Court DENIES as moot defendant’s motions for transcripts and to proceed in forma
18   pauperis.
19          IT IS SO ORDERED.
20   Dated:       November 2, 2010                  /s/ Lawrence J. O'Neill
     66h44d                                     UNITED STATES DISTRICT JUDGE
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